         Case 1:11-cv-00696-RLW Document 19 Filed 04/27/11 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
John Doe,                           )
                                    )
                  Plaintiff,        )
                                    )
v.                                  )                 Civil Action No. 11-CV-696 (RLW)
                                    )
George Washington University,       )
                                    )
                  Defendant.        )
                                    )
___________________________________ )

                                              ORDER

        Having considered Defendant’s Motion for Reconsideration (Docket No. 16), the parties’

responses to this Court’s April 25, 2011 Order to Show Cause (Docket Nos. 17 & 18), and

Plaintiff’s Consent Motion for Extension of Time to File Reply (Docket No. 18), it is hereby

ORDERED that:

        Defendant’s Motion for Reconsideration is hereby DENIED; it is further ORDERED

that,

        Defendant shall file no later than 5:00 p.m. April 28, 2011, an unsealed version of its

Opposition to Plaintiff’s Motion for Preliminary Injunction and attachments (Docket No. 15),

with only the following information redacted: 1) any identifying information of the students and

witnesses involved in this case;1 2) the location of the alleged sexual assault; and 3) the locations

of any activities leading up to the alleged sexual assault; it is further ORDERED that,



1
        Identifying information includes: a student’s name, the name of the student’s parent or
other family member, the address of the student or student’s family, the student’s social security
number, student number, biometric record, the student’s date of birth, the student’s place of
birth, and the maiden name of the student’s mother.
         Case 1:11-cv-00696-RLW Document 19 Filed 04/27/11 Page 2 of 2



       Plaintiff shall apply these redaction guidelines to its Reply Brief; and it is further

ORDERED that,

       Plaintiff’s Consent Motion for Extension of Time to File Reply is hereby GRANTED,

and Plaintiff shall file its Reply by April 29, 2011.

SO ORDERED.


Date: April 27, 2011                                      /s/
                                               ROBERT L. WILKINS
                                               United States District Judge
